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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE GREGORY W. CARMAN, CHIEF JUDGE

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

LEE HUNT INTERNATIONAL, INC.

A Wyoming Corporation, MARTIN L. LEE,
President and CEO, Joseph Baughman, Vice-
President; FRONTIER INSURANCE CO.,
and FRONTIER INSURANCE CoO., COURT NO. 02-00816

Defendant.

FRONTIER INSURANCE COMPANY,
Plaintiff,

V.

LEE HUNT INTERNATIONAL, MARTIN L. LEE
and JOSEPH BAUGHMAN,

Cross-Defendant.

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ANSWER AND CROSS-CLAIM

Pursuant to Rule 7(a) of the Rules of the Untied States Court of International Trade,
Defendant, Frontier Insurance Company (hereinafter ‘“Frontier’), by and through its undersigned
attorneys, answers the Complaint as follows:

1, Frontier International admits the allegation contained in paragraph 1 of the Complaint.

2. Defendant Frontier International avers that the statute cited speaks for itself
and neither admits nor denies Plaintiff's statement thereon in paragraph 2 of the Complaint.

3. Defendant Frontier admits the allegation contained in paragraph 3 of the

Complaint.
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4. Defendant Frontier admits the allegations of paragraph 4 of the Complaint.

5. Defendant Frontier admits the allegations in paragraph 5 of the Complaint.

6. Defendant Frontier admits the allegations in paragraph 6 of the Complaint.

7. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations contained in paragraph 7 of the Complaint, and on that basis denies the
allegations contained in paragraph 7 of the Complaint.

8. Defendant Frontier admits the allegations in paragraph 8 of the Complaint.

9. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 9 of the Complaint, and on that basis denies the allegations in
paragraph 9 of the Complaint.

10. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 10 of the Complaint, and on that basis denies the allegations in
paragraph 10 of the Complaint.

11. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 11 of the Complaint, and on that basis denies the allegations in
paragraph 11 of the Complaint.

12. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 12 of the Complaint, and on that basis denies the allegations in

paragraph 12 of the Complaint.
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13. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 13 of the Complaint, and on that basis denies the
allegations in paragraph 13 of the Complaint.

14. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 14 of the Complaint, and on that basis denies the allegations in
paragraph 14 of the Complaint.

15. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 15 of the Complaint, and on that basis denies the allegations in
paragraph 15 of the Complaint.

16. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 16 of the Complaint, and on that basis denies the allegations in
paragraph 16 of the Complaint.

17. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 17 of the Complaint, and on that basis denies the allegations in
paragraph 17 of the Complaint.

18. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 18 of the Complaint, and on that basis denies the
allegations in paragraph 18 of the Complaint.

19. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 19 of the Complaint, and on that basis denies the

allegations in paragraph 19 of the Complaint.
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20. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 20 of the Complaint, and on that basis denies the
allegations in paragraph 20 of the Complaint.

21. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 21 of the Complaint, and on that basis denies the allegations in
paragraph 21 of the Complaint.

22. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 22 of the Complaint, and on that basis denies the allegations in
paragraph 22 of the Complaint.

23. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 23 of the Complaint, and on that basis denies the allegations in
paragraph 23 of the Complaint.

24. Defendant Frontier is without sufficient information or belief to
either admit or deny the allegations in paragraph 24 of the Complaint, and on that basis denies
the allegations in paragraph 24 of the Complaint.

25. Defendant Frontier is without sufficient information or belief to either admit to
deny the allegations in paragraph 25 of the Complaint, and on that basis denies the
allegations in paragraph 25 of the Complaint.

26. Defendant Frontier is without sufficient information or belief to either admit or deny
the allegations contained in paragraph 26 of the Complaint, and on that basis denies the

allegations contained in paragraph 26.
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27. Defendant Frontier denies the allegations in paragraph 27 of the Complaint.

28, Defendant Frontier admits no payments have been made, but denies any duties are
outstanding or lawful.

29. Defendant Frontier admits the allegations contained in paragraph 29 of the
Complaint.

COUNT I

30. The admissions and denials contained in paragraphs 1-29 are restated and
incorporated by this response.

31. Defendant Frontier is without sufficient information or belief to
either admit or deny the allegations in paragraph 31 of the Complaint, and on that basis
denies the allegations in paragraph 31 of the Complaint.

32. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 32 of the Complaint, and on that basis denies the allegations in
paragraph 32 of the Complaint.

33. Defendant Frontier is without sufficient information or belief to
either admit or deny the allegations in paragraph 33 of the Complaint, and on that basis
denies the allegations in paragraph 33 of the Complaint.

COUNT I
34. The admissions and denials contained in paragraphs 1-33 are restated and

incorporated by this response.
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35. Defendant Frontier is without sufficient information or belief to either admit or deny
the allegations in paragraph 35 of the Complaint, and on that basis denies the
allegations in paragraph 35 of the Complaint.

36. Defendant Frontier is without sufficient information or belief to either admit or
deny the allegations in paragraph 36 of the Complaint, and on that basis denies the allegations in
paragraph 36 of the Complaint.

COUNT Il

37. The admissions and denials contained in paragraphs 1-36 are restated and
incorporated by this response.

38. Defendant Frontier lacks sufficient information or belief to either admit or
deny the allegations contained in paragraph 38 of the Complaint, and on that basis denies the
allegations contained in paragraph 38 of the Complaint.

39. Defendant Frontier lacks sufficient information or belief to either admit or deny
that demand was made; denies for lack of information and belief that any party is liable for the
$100,000 demanded or any lesser sum.

COUNT IV

40. The admissions and denials contained in paragraphs 1-39 are restated and

imcorporated by this response.

41. Defendant Frontier denies the allegations in paragraph 41 of the Complaint.
42. Defendant Frontier admits the demand was made but denies that Frontier is liable

for $50,000 or any lesser sum, as stated in paragraph 42 of the Complaint.

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FIRST AFFIRMATIVE DEFENSE

1. Defendant Frontier is under the protection of an Order of Rehabilitation issued by
the Honorable Edward H. Lehner, Justice of the Supreme Court of the State of New York, dated
the 10" day of. October 2001, and filed in the Office of the Clerk of New York County on
October 15, 2001; as a result, the Complaint filed herein and any further prosecution thereon is in
violation of paragraph 7 of said Order.

SECOND AFFIRMATIVE DEFENSE

2. This action is barred by the limitations on actions contained in 19 U.S.C. § 1621.

THIRD AFFIRMATIVE DEFENSE

3. The appraising officers of the United States Customs Service (now Bureau of
Customs and Border Protection) manually and intentionally liquidated the subject entries
“As Entered” with knowledge of the alleged misdescription and misclassification.

4, Any alleged misdescription or misclassification of the subject merchandise at the
time of entry was not the cause of any alleged loss of revenue at the time of liquidation of
the subject entries

PRAYER

WHEREFORE, Defendant, Frontier, requests that the Court enter judgment in its favor

against Plaintiff, denying Plaintiff’s prayer against Frontier in the amount of $50,000; or any lesser

sum and for such other and further relief as the Court may deem appropriate.
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CROSS-CLAIM

Defendant, Frontier, by and through its undersigned attorneys, brings this Cross-Claim
and alleges the following:

1. This is a Cross-Claim brought by Frontier against Cross-Defendants, Lee Hunt
International, Inc., Martin L. Lee and Joseph Baughman, to compel payment and indemnity for
monies claimed and demanded by Plaintiff, United States, from Frontier, as surety, pursuant to
the terms and conditions of various customs entry bond in which Cross-Defendant, Lee Hunt was
named as principal and Cross-Claimant Frontier was named as surety.

2. This Court possessed exclusive jurisdiction to entertain this Cross-Claim pursuant
to 28 U.S.C. § 1583 and Rule 13(f) of the Rules of the Court of International Trade.

3. Frontier is informed and believes that, at all times relevant, Cross-Defendant, Lee
Hunt International (“Lee Hunt”), was a Wyoming corporation with its principal place of
business at 1280-B Huff Lane, Jackson Hole, Wyoming 83001.

4. Frontier is informed and believes that, at all times relevant, Cross-Defendant
Martin L. Lee (“Lee”) was a resident of Wyoming and resides at Ranch Townhomes #2, Wilson,
Wyoming 83002.

5. Frontier is informed and believes that, at all times relevant, Cross-Defendant
Joseph Baughman (“Baughman”) was a resident of Wyoming and resides at
8055 Quill Road, Jackson, Wyoming 83001.

6. Frontier is informed and believes that, at all tumes relevant, Lee was the President

and Chief Executive Officer of Lee Hunt.
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7. Frontier is informed and believes that, at all times relevant, Baughman was the
Vice President of Lee Hunt.

8. Frontier is informed and believes that, at all times relevant, Lee and Baughman
controlled the operations of Lee Hunt.

9. At all times relevant, Cross-Defendants, Lee Hunt, Lee and Baughman were the
undisclosed principals of each of the other Cross-Defendants.

10. At all times relevant, Cross-Defendants Lee Hunt, Lee and Baughman were each
the agents of the other Cross-Defendant and in doing the things herein alleged, were
acting within the scope and authority of such agency and with the permission and consent
of the other Cross-Defendants.

11. Frontier is informed and believes, and on that basis alleges, that there is such unity
of interest between Cross-Defendants Lee Hunt, Lee and Baughman that the separate
personalities of said Cross-Defendants no longer exist, and that an inequitable result would
follow if the acts of Cross-Defendants are treated as those of one defendant alone.

FIRST CAUSE OF ACTION

12. At the special instance and request of Cross-Defendants Lee Hunt,
Lee and Baughman, Cross-Claimant, Frontier, as surety, executed and delivered to the
Department of Treasury, United States Customs Service, that certain Continuous Transaction

bond, in the amount of $50,000, attached as Exhibit B.2 to Plaintiff's Complaint.
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13. Under the terms of said bond, Cross-Claimant, Frontier, undertook and agreed to
pay to the Department of Treasury, United States Customs Service, any and all duties and taxes
found to be due, /egally fixed and imposed on any entry secured by the bonds up to the maximum
$50,000 penal value of the subject bond.

14. Frontier is informed and believes that the Customs Service has made demands
upon Cross-Defendants for payment of withheld customs duties in an amount in excess of the
$50,000 penal value of the bond.

15. Frontier is informed and believes that Cross-Defendants have consistently refused
to pay United States, the sum of withheld duties and fees demanded or any portion thereof.

16. Asaresult of Cross-Defendants’ failure to pay the demand for withheld duties
and fees to the Department of Treasury, United States Customs Service, it has become
necessary for Cross-Claimant, Frontier, to employ the services of T. Randolph Ferguson of the
law firm of Sandler, Travis & Rosenberg and Glad & Ferguson, P.C. to protect the rights and
interests of the surety in defending against the United States’ claim and demand upon Frontier for
said duties and fees.

17. Frontier is informed and believes that one or more of the Cross-Defendants are
financially solvent and able to pay the claim and demand of the United States for withheld duties
and fees.

18. No part of said withheld duties and fees has been paid and there is now unpaid a

claim in an aggregate amount of $50,000 on account of the subject bond.

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19. Cross-Defendants are, or will be, liable to Cross-Claimant, Frontier for all the
claims for withheld duties and fees asserted by Plaintiff on the bond identified in Plantiff’s
Complaint, up to the $50,000 aggregate bond limitation on the bond, as identified in Plaintiffs
Complaint, if Plaintiff is successful in obtaining judgment against Frontier under 19 U.S.C. §
1592(d).

20.  Asaresult of Cross-Defendants’ failure to pay said claim and demands for

withheld duties and fees, and unless said Cross-Defendants are compelled to pay the
same, Cross-Claimant, Frontier, will be compelled to pay said obligation, all to Cross Claimant’s

damage in the sum of at least $50,000, plus interest, as prayed for in Plaintiff's Complaint.

SECOND CAUSE OF ACTION

21. | Cross-Claimant, Frontier, incorporates herein by this reference, the allegations
contained in paragraphs 1 of 20 of the Cross-Claim as though fully set forth herein.

22. Cross-Defendants are and, at all times relevant herein, were primarily obligated
and responsible for payment of the withheld duties and fees demanded from them by
Plaintiff, while Cross-Claimant was only secondarily and derivatively liable therefore.

23.  Asaresult of the foregoing, Cross-Defendants are obligated to indemnify Cross-
Claimant, Frontier, for the amount of withheld duties and fees being demanded by Plaintiff from

Cross-Claimant, Frontier, on the subject bond.

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THIRD CAUSE OF ACTION

24. Cross-Claimant, Frontier, incorporates herein by this reference the allegations
contained in paragraphs 1 through 23 of this Cross-Claim as though fully set forth herein.

25. Because of wrongful acts of Cross-Defendants, Cross-Claimant, Frontier, may be
required to pay the amount of $50,000, plus interest, in additional duties to Plaintiff, for
duties on goods owned by the Cross-Defendants, which the Cross-Defendants rightfully
should have paid.

26.  Cross-Defendants, by reason above, will be unjustly enriched in an amount of

$50,000, plus interest, which Cross-Claimant, Frontier, may be required to pay.

WHEREFORE, for its FIRST, SECOND and THIRD CAUSES OF ACTION,
Cross-Claimant, Frontier, prays for an order and judgment against Cross-Defendants, and each of
them, as follows:

1. For a judgment against each Cross-Defendant compelling the payment in
full satisfaction of the $50,000 demand for withheld duties and fees, plus interest, if any, on the
bond identified in Plamtiff's Complaint;

2. For a judgment against each Cross-Defendants indemnifying Cross-
Claimant, Frontier, for the payment in full satisfaction on any claim or demand for withheld
duties and fees made by Plaintiff on account of the bonds identified in Plaintiff's Claim;

3. For reasonable attorney’s fees;

4. For the cost of suit herein incurred; and

5. For such other and further relief as the Court may deem appropriate.

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Dated: January 23, 2004

Respectfully submitted,

SANDLER, TRAVIS & ROSENBERG
AND GLAD & FERGUSON, P.C.

One Sutter Street, 10" Floor

San Francis ja 94104

(415) 986-1088

SS

T. RANDOLPH FERGUSON
Attorney for the Defendant/Cross-Claimant,
Frontier Insurance Company

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PROOF OF SERVICE BY MAIL

I, the undersigned state: I am at all times herein mentioned, a citizen of the United States and a resident
of the County of San Francisco, California; over the age of eighteen years; and not a party to the within action

or proceeding; that my place of business address is:

One Sutter Street, 10" Floor
San Francisco, CA 94104

ry ts
That on the M day of January, 2004, I served the within ANSWER AND CROSS-CLAIM, FORM 13
and NOTICE OF APPEARANCE, Court Number 02-00816, on David Harrington, in said action or
proceeding, by depositing a true copy thereof, in a sealed envelope with postage thereon, fully prepaid, in a

mail box regularly maintained by the Government of the United States at the corner of Sutter Street and

Sansome Street, San Francisco, California 94104, addressed to the attorney for Plaintiff as follows:

David Harrington

Civil Division, Department of Justice
Commercial Litigation Branch

Attn: Classification Unit

8" Floor

1100 L Street, N.W.

Washington, D.C. 20530

oe
Executed on this day of January, 2004, at San Francisco, California.

I certify or declare under
penalty of perjury that the

forego: is true

TIFFANY NIXON

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PROOF OF SERVICE BY MAIL

I, the undersigned state: I am at all times herein mentioned, a citizen of the United States and a resident
of the County of San Francisco, California; over the age of eighteen years; and not a party to the within action
or proceeding; that my place of business address is:

One Sutter Street, 10" Floor
San Francisco, CA 94104

fe

That on the « day of January, 2004, I served the within ANSWER AND CROSS-CLAIM, FORM 13
and NOTICE OF APPEARANCE, Court Number 02-00816, on Joseph Spraragen, counsel for Lee-Hunt
International and Martin Lee, in said action or proceeding, by depositing a true copy thereof, in a sealed
envelope with postage thereon, fully prepaid, in a mail box regularly maintained by the Government of the
United States at the comer of Sutter Street and Sansome Street, San Francisco, California 94104, addressed to

the attorney for the Plaintiff and each of the Defendants as follows:

Joseph M. Spraragen

Grunfeld, Desiderio, Lebowitz, Silverman & Klestadt, LLP
399 Park Avenue, 25" Floor

New York, NY 10022

oe Gatien:
Executed on this ¥ ~ day of January, 2004, at San Francisco, California.

I certify or declare under
penalty of perjury that the
7 ing is true_and correct.

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TIFPANY NIXON

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PROOF OF SERVICE BY MAIL

I, the undersigned state: I am at all times herein mentioned, a citizen of the United States and a resident
of the County of San Francisco, California; over the age of eighteen years; and not a party to the within action
or proceeding; that my place of business address is:

One Sutter Street, 10" Floor
San Francisco, CA 94104

That on the Wr of January, 2004, I served the within ANSWER AND CROSS-CLAIM, FORM 13
and NOTICE OF APPEARANCE, Court Number 02-00816, on Judd L. Kessler, counsel for Joseph
Baughman, in said action or proceeding, by depositing a true copy thereof, in a sealed envelope with postage
thereon, fully prepaid, in a mail box regularly maintained by the Government of the United States at the corner
of Sutter Street and Sansome Street, San Francisco, California 94104, addressed to the attorney for the Plaintiff

and each of the Defendants as follows:

Judd L. Kessler

Porter Wright Morris & Arthur, LLP
1919 Pennsylvania Avenue

Suite 500

Washington, D.C. 20006-3434

eo
Executed on nie, of January, 2004, at San Francisco, California.

I certify or declare under
penalty of perjury that the
foregoing is true and correct.

TIRFANY NIXON

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